                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN


Noble International, Ltd.             :       Case No. 09-51720
                                      :       Jointly Administered
                                      :
            Debtors.                  :       Hon. Marci B. McIvor
______________________        :

ORDER APPROVING HONDA TRADING AMERICA CORPORATION’S MOTION (i)
  FOR RELIEF FROM THE AUTOMATIC STAY TO EFFECTUATE RIGHT OF
   SETOFF AND (ii) FOR APPROVAL OF THE SETTLEMENT AGREEMENT

         This matter is before the Bankruptcy Court on Honda Trading America Corporation’s

Motion (i) for Relief from the Automatic Stay to Effectuate Right of Setoff and (ii) for Approval

of the Settlement Agreement (the “Motion”). The Official Committee of Unsecured Creditors

(“Committee”) asserted an informal objection to the Motion, which was resolved with the

Debtor, as reflected below.       The Bankruptcy Court having reviewed the Motion and the

Settlement Agreement attached thereto, and noting that no objection to the Motion has been

filed, the Bankruptcy Court finds: (a) the Bankruptcy Court has jurisdiction over this matter; (b)

this is a core proceeding; (c) venue is proper; and (d) notice of the Motion was sufficient under

the circumstances. Accordingly, the Bankruptcy Court having determined that the Motion and

Settlement Agreement establish just cause for relief granted herein, it is hereby;

         ORDERED, ADJUDGED AND DECREED, that:

         1.    The Motion shall be, and hereby is, granted, except as modified by Paragraph 3

below.

         2.    The terms of the Settlement Agreement attached to the Motion are hereby

approved, except as provided in Paragraph 3 below.




1811796.03
 09-51720-mbm        Doc 695      Filed 10/20/09    Entered 10/21/09 11:24:13        Page 1 of 2
         3.   The Settlement Agreement is modified to provide that the releases set forth in

Paragraphs 5 and 6 of the Settlement Agreement do not include any claims of the Debtors or any

defenses of HTA, if any, relating to any avoidance actions under Chapter 5 of the Bankruptcy

Code. All such claims and defenses relating to any avoidance actions under Chapter 5 of the

Bankruptcy Code are specifically and expressly preserved by the Parties.

         4.   This Bankruptcy Court shall retain jurisdiction over any matters arising out of this

Motion and the Settlement Agreement.

         IT IS SO ORDERED.
                                               .

Signed on October 20, 2009
                                                      ____ __/s/ Marci B. McIvor_    ___
                                                          Marci B. McIvor
                                                          United States Bankruptcy Judge




1811796.03
 09-51720-mbm       Doc 695     Filed 10/20/09     Entered 10/21/09 11:24:13       Page 2 of 2
